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                                                                                                         8   FACEBOOK, INC. and INSTAGRAM, LLC

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                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                                                         UNITED STATES DISTRICT COURT
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                                                                                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                             FACEBOOK, INC. and INSTAGRAM, LLC           Case No.FY
                                                                                                        12
                                                                                                                                 Plaintiff,              COMPLAINT FOR CYBERSQUATTING;
                                                                                                        13                                               TRADEMARK INFRINGEMENT; FALSE
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                                                                                                                   v.                                    DESIGNATION OF ORIGIN; AND
                                                                                                        14                                               DILUTION
                                                                                                             ONLINENIC INC., DOMAIN ID SHIELD
                                                                                                        15   SERVICE CO., LIMITED, and DOES 1-20         DEMAND FOR JURY TRIAL

                                                                                                        16                       Defendants.

                                                                                                        17

                                                                                                        18

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                                                                                                                                                                                             COMPLAINT
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                                                                                                         1            Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) (collectively

                                                                                                         2   “Plaintiffs”) by and through their attorneys, Tucker Ellis LLP, file their complaint against Defendants

                                                                                                         3   OnlineNIC, Inc. (“OnlineNIC”), Domain ID Shield Service Co., Limited (“ID Shield”) (collectively

                                                                                                         4   “Defendants”), and John Does 1-20 (“Doe Defendants”) for injunctive relief and damages.

                                                                                                         5   INTRODUCTION

                                                                                                         6            1.    Cybercrime is highly dependent on registered domain names, which are used to send

                                                                                                         7   spear phishing emails, operate malware, and engage in other types of online abuse. According to the

                                                                                                         8   Internet Corporation of Assigned Names and Numbers (ICANN), as of July 31, 2019, there were over

                                                                                                         9   800,000 resolving domain names used for phishing, malware, spam, and botnets.
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10            2.    Cybercriminals often rely on privacy services to hide their ownership and control of

                                                                                                        11   malicious domains from the public. In exchange for a fee, privacy services conceal the domain name

                                                                                                        12   registrant’s identity as listed on publicly available domain name registration records. These privacy

                                                                                                        13   services, like the services offered by Defendants, are increasingly used by cybercriminals as they cycle
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                                                                                                        14   through domain names in order to conceal their identity and evade detection.

                                                                                                        15            3.    Defendant OnlineNIC is an ICANN-accredited domain name registrar and Defendant ID

                                                                                                        16   Shield is its privacy protection service. According to one internet security group, domain names

                                                                                                        17   registered by OnlineNIC were reported for abuse in approximately 40,000 instances. In 2019, one

                                                                                                        18   internet security group reported that OnlineNIC was one of the top 20 domain name registrars used for

                                                                                                        19   abuse.

                                                                                                        20            4.    Although accredited by ICANN, Defendants have repeatedly failed to take appropriate

                                                                                                        21   “steps to investigate and respond appropriately to any reports of abuse” as required by the ICANN

                                                                                                        22   Registrar Accreditation Agreement (“RAA”) and have failed to provide abusive domain name

                                                                                                        23   registrants’ names and contact information to victims of online abuse as required under the RAA.

                                                                                                        24            5.    For years, the Doe Defendants, OnlineNIC and its alter ego ID Shield, as registrants,

                                                                                                        25   registered domain names (such as hackingfacebook.net) that have been used for malicious activity,

                                                                                                        26   including phishing and hosting websites that purported to sell hacking tools. These domain names also

                                                                                                        27   have infringed on Plaintiffs’ trademarks. Plaintiffs have sent multiple notices to OnlineNIC providing

                                                                                                        28   evidence of domain name abuse and infringement. Defendants did not address any of Plaintiffs’ notices.

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                                                                                                         1          6.      Plaintiffs seek relief from OnlineNIC and its alter ego, ID Shield, who have registered (as

                                                                                                         2   the registrant), used, and trafficked in domain names that include Plaintiffs’ trademarks. Plaintiffs seek

                                                                                                         3   damages and injunctive relief against Defendants to stop their ongoing unlawful and harmful conduct,

                                                                                                         4   pursuant to the Lanham Act and the Anti-Cybersquatting Consumer Protection Act (15 U.S.C. § 1125).

                                                                                                         5   I.     THE PARTIES

                                                                                                         6          7.      Plaintiff Facebook, Inc. is a Delaware corporation with its principal place of business in

                                                                                                         7   Menlo Park, California.

                                                                                                         8          8.      Plaintiff Instagram, LLC is a Delaware limited liability company with its principal place

                                                                                                         9   of business in Menlo Park, California.
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10          9.      Defendant OnlineNIC Inc. is a California corporation with its principal place of business

                                                                                                        11   in San Leandro, California. Defendant OnlineNIC is a domain name registrar that sells, registers and

                                                                                                        12   transfers domain names for third parties.

                                                                                                        13          10.     Defendant ID Shield, is a Hong Kong limited company. Defendant ID Shield is
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                                                                                                        14   OnlineNIC’s domain name privacy service, which registered domain names in the name of ID Shield on

                                                                                                        15   publicly available domain name registration records.

                                                                                                        16          11.     At all times material to this action, OnlineNIC and ID Shield are instrumentalities and

                                                                                                        17   alter egos of each other. OnlineNIC is also the direct participant in the actions of ID Shield as alleged in

                                                                                                        18   this Complaint.

                                                                                                        19          12.     Plaintiffs have not identified the Defendants referred to as the Doe Defendants. The Doe

                                                                                                        20   Defendants are individuals or entities who have registered, or caused to be registered, domain names

                                                                                                        21   that infringe on Plaintiffs’ trademarks. Plaintiffs reserve the right to amend this complaint to allege such

                                                                                                        22   Defendants’ true names and capacities when they are ascertained.

                                                                                                        23   II.    JURISDICTION AND VENUE

                                                                                                        24          13.     The Court has federal question jurisdiction over the federal causes of action alleged in

                                                                                                        25   this complaint pursuant to 28 U.S.C. § 1331.

                                                                                                        26          14.     The Court has personal jurisdiction over Defendant OnlineNIC, and its alter ego ID

                                                                                                        27   Shield, because OnlineNIC maintained and operated business in California.

                                                                                                        28          15.     Each of the Doe Defendants has entered into one or more contracts for domain name

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                                                                                                         1   registration services used in connection with Defendants’ unlawful scheme; a material term of these

                                                                                                         2   contracts was Defendants’ agreement to submit to the Court’s jurisdiction. A copy of the domain name

                                                                                                         3   registration agreement is attached to this Complaint as Exhibit 1. Accordingly, the Court has personal

                                                                                                         4   jurisdiction over each of the Doe Defendants.

                                                                                                         5           16.     The Court has personal jurisdiction over the Defendants and the Doe Defendants because

                                                                                                         6   each of them knowingly directed and targeted parts of their unlawful scheme at Plaintiffs, which have

                                                                                                         7   their principal places of business in California. Defendants and the Doe Defendants also transacted

                                                                                                         8   business and engaged in commerce in California.

                                                                                                         9           17.     Venue is proper with respect to each of the Defendants pursuant to 28 U.S.C. §1391(b)(2)
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                                                                                                        10   because a substantial part of the events and omissions giving rise to the claims alleged occurred in this

                                                                                                        11   district.

                                                                                                        12           18.     Pursuant to Civil L.R. 3-2(c), this case is exempt from the Court’s division-specific venue

                                                                                                        13   rule because it involves intellectual property rights.
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                                                                                                        14   III.    FACTUAL ALLEGATIONS

                                                                                                        15           A.      Background on Plaintiffs and their Trademarks

                                                                                                        16           19.     Facebook offers a social networking website and mobile application that enables its users

                                                                                                        17   to create their own personal profiles and connect with each other on their personal computers and mobile

                                                                                                        18   devices.

                                                                                                        19           20.     Facebook owns the exclusive rights to several trademarks and service marks to provide

                                                                                                        20   its online services, including the distinctive FACEBOOK word mark and stylized mark, and has used

                                                                                                        21   the marks in connection with its services since 2004.

                                                                                                        22           21.     In addition to its extensive common law rights, Facebook owns numerous United States

                                                                                                        23   registrations for its FACEBOOK marks, including:

                                                                                                        24                   a. United States Registration Number 3,122,052; and

                                                                                                        25                   b. United States Registration Number 3,881,770.

                                                                                                        26   Copies of these registration certificates are attached to this Complaint as Exhibit 2. Facebook’s

                                                                                                        27   common law and registered trademarks are collectively referred to as the “Facebook Trademarks.”

                                                                                                        28           22.     Facebook’s use of the Facebook Trademarks in interstate commerce has been extensive,

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                                                                                                         1   continuous, and substantially exclusive. Facebook has made, and continues to make, a substantial

                                                                                                         2   investment of time, effort, and expense in the promotion of Facebook and the Facebook Trademarks.

                                                                                                         3   As a result of Facebook’s efforts and use, the Facebook Trademarks are famous (and have been famous

                                                                                                         4   since at least as early as 2011) as they are recognized within the US and around the world as signifying

                                                                                                         5   high-quality, authentic goods and services provided by Facebook.

                                                                                                         6          23.     Instagram offers a photo and video sharing and editing service, mobile application, and

                                                                                                         7   social network. Instagram users can choose to share their photos and videos with their followers online.

                                                                                                         8          24.     Instagram owns the exclusive rights to the distinctive INSTAGRAM word mark and

                                                                                                         9   stylized mark, having used the marks in connection with its goods and services as early as 2010.
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10          25.     In addition to its extensive common law rights, Instagram owns numerous United States

                                                                                                        11   registrations for the INSTAGRAM marks, including:

                                                                                                        12                  c. United States Registration Number 4,795,634;

                                                                                                        13                  d. United States Registration Number 4,146,057;
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                                                                                                        14                  e. United States Registration Number 4,756,754;

                                                                                                        15                  f. United States Registration Number 5,566,030;

                                                                                                        16                  g. United States Registration Number 4,170,675;

                                                                                                        17                  h. United States Registration Number 4,856,047;

                                                                                                        18                  i. United States Registration Number 4,822,600;

                                                                                                        19                  j. United States Registration Number 4,827,509;

                                                                                                        20                  k. United States Registration Number 4,863,595; and

                                                                                                        21                  l. United States Registration Number 5,019,151.

                                                                                                        22   Copies of these registration certificates are attached to this Complaint as Exhibit 3. Instagram’s common

                                                                                                        23   law and registered trademark rights are collectively referred to as the “Instagram Trademarks.”

                                                                                                        24          26.     Instagram’s use of the Instagram Trademarks in interstate commerce has been extensive,

                                                                                                        25   continuous, and substantially exclusive. Instagram has made, and continues to make, a substantial

                                                                                                        26   investment of time, effort, and expense in the promotion of Instagram and the Instagram Trademarks. As

                                                                                                        27   a result of Instagram’s efforts and use, the Instagram Trademarks are famous (and have been famous

                                                                                                        28

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                                                                                                                                                                                                          COMPLAINT
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                                                                                                         1   since at least as early as 2014) as they are recognized within the US and around the world as signifying

                                                                                                         2   high-quality, authentic goods and services provided by Instagram.

                                                                                                         3          B.      OnlineNIC is Responsible for the Actions of ID Shield

                                                                                                         4          27.     Defendant OnlineNIC is accredited by ICANN and subject to ICANN’s RAA. A copy of

                                                                                                         5   the RAA is attached to this Complaint as Exhibit 4

                                                                                                         6          28.     Defendant ID Shield provides a domain name registration privacy service on behalf of

                                                                                                         7   Defendant OnlineNIC. ID Shield is the registrant of the domain name, and is listed as the registrant in

                                                                                                         8   the WHOIS directory.

                                                                                                         9          29.     OnlineNIC controls certain business operations of ID Shield. ID Shield registers domain
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10   names as the registrant, and licenses these domain names either to OnlineNIC for its use or to

                                                                                                        11   OnlineNIC’s customers for their use. OnlineNIC’s website refers to ID Shield’s services as “OnlineNIC

                                                                                                        12   ID Shield.” A screen capture of OnlineNIC’s “Domain Privacy” page from its website is attached to this

                                                                                                        13   Complaint as Exhibit 5.
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                                                                                                        14          30.     The ID Shield Service Agreement, found on the OnlineNIC website, is attached to this

                                                                                                        15   Complaint as Exhibit 6. According to the ID Shield Service Agreement, “[i]f you subscribe to the IDS

                                                                                                        16   Services, each domain name registration which you control and which [uses the ID Shield service] will

                                                                                                        17   thereafter be registered in the name of [ID Shield], as registrant.”

                                                                                                        18          31.     According to ID Shield’s “About Us” webpage “OnlineNIC, Inc. [sic] is an internet

                                                                                                        19   services company that provides . . . internet services, including domain name service and other related

                                                                                                        20   services.” A copy of ID Shield’s “About Us” webpage is attached to this Complaint as Exhibit 7.

                                                                                                        21          32.     ID Shield and OnlineNIC are managed by the same President and VP of Business

                                                                                                        22   Development. A copy of OnlineNIC’s “About Us” webpage is attached to this Complaint as Exhibit 8;

                                                                                                        23   compare Exhibit 7 with Exhibit 8.

                                                                                                        24          33.     OnlineNIC’s customers purchase and pay for the ID Shield services directly from their

                                                                                                        25   OnlineNIC user account. ID Shield’s “Payment Info” webpage indicates that payments to ID Shield

                                                                                                        26   should be processed through the customer’s OnlineNIC user account. Customers wishing to close their

                                                                                                        27   account should email sales@onlinenic.com (“Please contact our sales at sales@onlinenic.com if you

                                                                                                        28   wish to close your account.”) See Exhibit 9.

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                                                                                                         1          34.        ID Shield and OnlineNIC share the same technical support staff, and technical support

                                                                                                         2   services are provided by the same person(s). A copy of ID Shield’s help webpage (listing OnlineNIC

                                                                                                         3   and its phone numbers and email addresses) is attached to this Complaint as Exhibit 10.

                                                                                                         4          35.        The domain names domainidshield.com and onlinenic.com are hosted on the same IP

                                                                                                         5   address. Defendants’ websites contain links to each other.

                                                                                                         6          36.        OnlineNIC and ID Shield are instrumentalities and alter egos of each other. OnlineNIC is

                                                                                                         7   also the direct participant in the actions of ID Shield as alleged in this Complaint.

                                                                                                         8          C.         Defendants Registered, Used, or Trafficked In the Infringing Domain Names

                                                                                                         9          37.        OnlineNIC and ID Shield registered, used, or trafficked in, at least the following 20
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                                                                                                        10   domain names that are identical or confusingly similar to the Facebook Trademarks and the Instagram

                                                                                                        11   Trademarks (the “Infringing Domain Names”):

                                                                                                        12                i.   facebook-fans-buy.com                          xi.    trollfacebook.com

                                                                                                        13               ii.   facebook-mails.com                            xii.    www-facebook-login.com
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                                                                                                        14           iii.      facebook-pass.com                             xiii.   www-facebook-pages.com

                                                                                                        15            iv.      facebook-pw.com                               xiv.    buyinstagramfans.com

                                                                                                        16               v.    facebookphysician.com                          xv.    instaface.org

                                                                                                        17            vi.      facebookvideodownload.net                     xvi.    instagram01.com

                                                                                                        18           vii.      findfacebookid.com                           xvii.    iiinstagram.com

                                                                                                        19          viii.      hackingfacebook.net                         xviii.    login-lnstargram.com

                                                                                                        20            ix.      hacksomeonesfacebook.com                      xix.    m-facebook-login.com

                                                                                                        21               x.    lamsocialfacebook.net                          xx.    singin-lnstargram.com

                                                                                                        22          38.        ID Shield is the registrant for each of the Infringing Domain Names. A copy of WHOIS

                                                                                                        23   entries for each of the Infringing Domain Names is attached to this Complaint as Exhibit 11.

                                                                                                        24          39.        Upon information and belief, each of the Infringing Domain Names was registered on

                                                                                                        25   behalf of the Doe Defendants or OnlineNIC using Defendants’ registration services and privacy

                                                                                                        26   services.

                                                                                                        27          40.        ID Shield trafficked in the Infringing Domain Names by licensing these domain names

                                                                                                        28   either to OnlineNIC for its use or to OnlineNIC’s customers for their use.

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                                                                                                         1          D.        Defendants’ Bad Faith Intent to Profit

                                                                                                         2          41.       OnlineNIC has a history of cybersquatting on famous and distinctive trademarks.

                                                                                                         3          42.       On or about December 19, 2008, OnlineNIC was found liable for registering over 600

                                                                                                         4   domain names that were confusingly similar to the VERIZON mark. In the Verizon case, the Court

                                                                                                         5   awarded $33.15 million in damages and denied OnlineNIC’s motion to set aside or reduce the judgment.

                                                                                                         6          43.       On or about December 19, 2008, Yahoo! Inc. alleged in a separate action that OnlineNIC

                                                                                                         7   registered at least 554 domain names that were identical or confusingly similar to its trademarks.

                                                                                                         8          44.       On or about October 7, 2008, Microsoft Corporation alleged in a separate action that

                                                                                                         9   OnlineNIC registered at least 97 domain names that were identical or confusingly similar to its
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10   trademarks.

                                                                                                        11          45.       OnlineNIC has been named in administrative complaints filed under the Uniform

                                                                                                        12   Domain-Name Dispute-Resolution Policy (“UDRP”). In many of these UDRP cases, OnlineNIC has

                                                                                                        13   verified to the dispute providers that OnlineNIC itself was the registrant of the domain name at issue in
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                                                                                                        14   the complaint.

                                                                                                        15          46.       OnlineNIC has operated under one or more aliases, including “Junlong Zhen,”

                                                                                                        16   “lenawoo,” and “China-Channel,” to hide its involvement in registering as a registrant, using, and

                                                                                                        17   trafficking in infringing domain names.

                                                                                                        18          47.       OnlineNIC and ID Shield profit from the sale of the ID Shield service, including

                                                                                                        19   providing the service to the Doe Defendants and to OnlineNIC. OnlineNIC and ID Shield profit from the

                                                                                                        20   sale of the ID Shield service by collecting fees from the sale of that service.

                                                                                                        21          48.       The users of the Infringing Domain Names, which, upon information and belief, included

                                                                                                        22   Defendants and the Doe Defendants, intended to divert consumers to websites using domain names that

                                                                                                        23   were confusingly similar to the Facebook Trademarks and the Instagram Trademarks. In some instances,

                                                                                                        24   the Infringing Domain Names have been used for malicious activity, including to host websites directing

                                                                                                        25   visitors to other commercial sites, phishing, selling purported tools for hacking. Screenshots of several

                                                                                                        26   of these websites hosted at the Infringing Domain Names are attached to this Complainant as Exhibit 12.

                                                                                                        27          49.       Defendants also used some of the Infringing Domain Names in connection with email

                                                                                                        28   services, which is usually an indication that the domain name was used for phishing or other scams.

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                                                                                                         1   Specifically, at least the following domain names had domain name servers configured to facilitate

                                                                                                         2 email:    facebook-mails.com,     facebook-pass.com,      facebook-pw.com,     facebookvideodownload.net,

                                                                                                         3   findfacebookid.com, hackingfacebook.net, hacksomeonesfacebook.com, login-lnstargram.com, m-

                                                                                                         4   facebook-login.com, singin-lnstargram.com, and trollfacebook.com.

                                                                                                         5          50.     Defendants have registered multiple domain names that they know are identical or

                                                                                                         6   confusingly similar to marks of others that were distinctive at the time of registration of the domain

                                                                                                         7   names, or dilutive of famous marks of others that were famous at the time of registration of the domain

                                                                                                         8   names. A table showing examples of some of Defendants’ registered domains is attached as Exhibit 13.

                                                                                                         9          51.     Plaintiffs’ Facebook Trademarks and Instagram Trademarks were distinctive and famous,
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10   when Defendants registered, used or trafficked in the Infringing Domain Names.

                                                                                                        11          E.      OnlineNIC’s and ID Shield’s Failure to Disclose Contact Information

                                                                                                        12          52.     Under the RAA, OnlineNIC agreed that ID Shield “shall accept liability for harm caused

                                                                                                        13   by wrongful use of the Registered Name, unless it discloses the current contact information provided by
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                                                                                                        14   the licensee and the identity of the licensee within seven (7) days to a party providing [ID Shield]

                                                                                                        15   reasonable evidence of actionable harm.” See Exhibit 4.

                                                                                                        16          53.     OnlineNIC and ID Shield’s service agreements anticipate that they will be sued for

                                                                                                        17   misuse of domain names, including for trademark infringement and cybersquatting, and require parties

                                                                                                        18   to their respective agreements to indemnify against such claims. See Exhibits 1 and 6.

                                                                                                        19          54.     ID Shield service agreement states (twice) that it will cancel its proxy service if a domain

                                                                                                        20   name is alleged to infringe on a third party’s trademark or if it receives valid evidence of trademark

                                                                                                        21   infringement. See Exhibit 6.

                                                                                                        22          55.     Between April 23, 2019 and August 12, 2019, Plaintiffs’ authorized representatives sent

                                                                                                        23   at least 5 notices to ID Shield with evidence that each of the Infringing Domain Names caused Plaintiffs

                                                                                                        24   actionable harm and requesting that ID Shield disclose the identities of the registrant(s) (“Plaintiffs’

                                                                                                        25   Notices”). For example:

                                                                                                        26                a. On April 23, 2019 Plaintiffs’ authorized representatives sent notice regarding www-

                                                                                                        27                   facebook-login.com.

                                                                                                        28                b. On May 2, 2019, Plaintiffs’ authorized representatives sent notice regarding: facebook-

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                                                                                                         1                   fans-buy.com,     facebook-pass.com,        facebookphysician.com,     facebook-pw.com,

                                                                                                         2                   iamsocialfacebook.net, and iiinstagram.com.

                                                                                                         3                c. On May 14, 2019, Plaintiffs’ authorized representatives sent notice regarding: facebook-

                                                                                                         4                   mails.com, facebookvideodownload.net, findfacebookid.com, instagram01.com, m-

                                                                                                         5                   facebook-login.com, and www-facebook-pages.com.

                                                                                                         6                d. On June 3, 2019, Plaintiffs’ authorized representatives sent notice regarding:

                                                                                                         7                   buyinstagramfans.com,      hackingfacebook.net,     hacksomeonesfacebook.com,      login-

                                                                                                         8                   lnstagram.com, singin-lnstargram.com, and trollfacebook.com.

                                                                                                         9                e. On August 12, 2019, Plaintiffs’ authorized representatives sent notice regarding
                   Chicago Ƈ Cleveland Ƈ Columbus Ƈ Houston Ƈ Los Angeles Ƈ San Francisco Ƈ St. Louis




                                                                                                        10                   instaface.org.

                                                                                                        11          56.     ID Shield failed to disclose the identity or any contact information of the licensee when

                                                                                                        12   presented with reasonable evidence of actionable harm by Plaintiffs or their authorized representatives

                                                                                                        13   that one or more domain names infringed or cybersquatted on the Facebook Trademarks and Instagram
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                                                                                                        14   Trademarks.

                                                                                                        15          57.     ID Shield failed to even respond to Plaintiffs’ Notices.

                                                                                                        16                                        FIRST CAUSE OF ACTION

                                                                                                        17                  [Cybersquatting on Plaintiffs’ Trademarks Under 15 U.S.C. § 1125(d)]

                                                                                                        18          58.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                        19          59.     The Facebook Trademarks and Instagram Trademarks (collectively, “Plaintiffs’

                                                                                                        20   Trademarks”) were distinctive or famous and federally registered at the United States Patent and

                                                                                                        21   Trademark Office at the time Defendants registered, used, and trafficked in the Infringing Domain

                                                                                                        22   Names.

                                                                                                        23          60.     One or more of the Infringing Domain Names are confusingly similar to Plaintiffs’

                                                                                                        24   Trademarks.

                                                                                                        25          61.     One or more of the Infringing Domain Names are dilutive of the Facebook Trademarks or

                                                                                                        26   Instagram Trademarks.

                                                                                                        27          62.     Defendants registered (as the registrant), used, or trafficked in one or more of the

                                                                                                        28   Infringing Domain Names with a bad faith intent to profit from Plaintiffs’ Trademarks.

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                                                                                                         1          63.     Defendants do not have any trademark or other intellectual property rights in the

                                                                                                         2   Infringing Domain Names.

                                                                                                         3          64.     The Infringing Domain Names do not consist of the legal name of either of the

                                                                                                         4   Defendants, nor do they consist of a name that is otherwise commonly used to identify them.

                                                                                                         5          65.     Defendants have not made any prior use of any of the Infringing Domain Names in

                                                                                                         6   connection with the bona fide offering of any goods or services.

                                                                                                         7          66.     Defendants have not made any bona fide noncommercial or fair use of Plaintiffs’

                                                                                                         8   Trademarks on a website accessible at any of the Infringing Domain Names.

                                                                                                         9          67.     Defendants registered (as the registrant), used, and trafficked in one or more of the
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                                                                                                        10   Infringing Domain Names to divert consumers from Plaintiffs’ legitimate websites to a website

                                                                                                        11   accessible under the Infringing Domain Names for Defendants’ commercial gain by creating a

                                                                                                        12   likelihood of confusion as to the source, sponsorship, affiliation, or endorsement of their websites.

                                                                                                        13          68.     Defendants’ registration, use, and/or trafficking in the Infringing Domain Names
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                                                                                                        14   constitutes cybersquatting in violation of 15 U.S.C. § 1125(d), entitling Plaintiffs to relief.

                                                                                                        15          69.     Plaintiffs’ remedy at law is not adequate to compensate it for the injuries Defendants

                                                                                                        16   inflicted on Plaintiffs. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to

                                                                                                        17   15 U.S.C. § 1116.

                                                                                                        18          70.     Plaintiffs are entitled to recover Defendants’ profits, Plaintiffs’ actual damages, and the

                                                                                                        19   costs of this action. Instead of actual damages and profits, Plaintiffs may alternatively elect to an award

                                                                                                        20   of statutory damages under 15 U.S.C. § 1117(d) in an amount of $100,000 per domain name.

                                                                                                        21          71.     This is an exceptional case, entitling Plaintiffs to an award of reasonable attorneys’ fees

                                                                                                        22   under 15 U.S.C. § 1117.

                                                                                                        23                                        SECOND CAUSE OF ACTION

                                                                                                        24                                [Trademark and Service Mark Infringement of

                                                                                                        25                               Plaintiffs’ Trademarks Under 15 U.S.C. § 1114]

                                                                                                        26          72.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                        27          73.     Defendants have used Plaintiffs’ Trademarks in interstate commerce. Defendants’ use of

                                                                                                        28   Plaintiffs’ Trademarks is likely to cause confusion, mistake, or deception as to the origin, sponsorship,

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                                                                                                         1   or approval by Plaintiffs of Defendants’ websites.

                                                                                                         2          74.      The above-described acts of Defendants constitute trademark and service mark

                                                                                                         3   infringement in violation of 15 U.S.C. § 1114(1) and entitle Plaintiffs’ to relief.

                                                                                                         4          75.      Defendants have unfairly profited from the alleged trademark and service mark

                                                                                                         5   infringement.

                                                                                                         6          76.      By reason of Defendants’ acts of trademark and service mark infringement, Plaintiffs

                                                                                                         7   have suffered damage to the goodwill associated with Plaintiffs’ Trademarks.

                                                                                                         8          77.      Defendants have irreparably harmed Plaintiffs and, if not enjoined, will continue to

                                                                                                         9   irreparably harm Plaintiffs and their federally registered trademarks and service marks.
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                                                                                                        10          78.      Defendants have irreparably harmed the general public and, if not enjoined, will continue

                                                                                                        11   to irreparably harm the general public, which has an interest in being free from confusion, mistake, and

                                                                                                        12   deception.

                                                                                                        13          79.      Plaintiffs’ remedy at law is not adequate to compensate them for the injuries inflicted by
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                                                                                                        14   Defendants. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to

                                                                                                        15   15 U.S.C. § 1116.

                                                                                                        16          80.      Plaintiffs are entitled to recover Defendants’ profits, Plaintiffs’, actual damages, and the

                                                                                                        17   costs of this action. Plaintiffs’ are also entitled to have their damages trebled under 15 U.S.C. § 1117(a).

                                                                                                        18          81.      This is an exceptional case, making Plaintiffs eligible for an award of reasonable

                                                                                                        19   attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

                                                                                                        20                                         THIRD CAUSE OF ACTION

                                                                                                        21                   [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks

                                                                                                        22                         and False Designation of Origin Under 15 U.S.C. § 1125(a)]

                                                                                                        23          82.      Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                        24          83.      Plaintiffs’ Trademarks are distinctive marks that are associated with Plaintiffs and

                                                                                                        25   exclusively identify their respective businesses, products, and services.

                                                                                                        26          84.      Defendants’ use in commerce of Plaintiffs’ Trademarks, and variations thereof, is likely

                                                                                                        27   to cause confusion, or to cause mistake, or to deceive the relevant public that Defendants’ goods and

                                                                                                        28   services are authorized, sponsored, or approved by, or are affiliated with, Plaintiffs.

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                                                                                                         1           85.      Defendants’ acts constitute trademark and service mark infringement of Plaintiffs’

                                                                                                         2   Trademarks, as well as false designation of origin, in violation of 15 U.S.C. § 1125(a), entitling

                                                                                                         3   Plaintiffs to relief.

                                                                                                         4           86.      Defendants have unfairly profited from their conduct.

                                                                                                         5           87.      By reason of the above-described acts of Defendants, Plaintiffs have suffered damage to

                                                                                                         6   the goodwill associated with Plaintiffs’ Trademarks.

                                                                                                         7           88.      Defendants have irreparably harmed Plaintiffs and, if not enjoined, will continue to

                                                                                                         8   irreparably harm Plaintiff and Plaintiffs’ Trademarks.

                                                                                                         9           89.      Defendants have irreparably harmed the general public and, if not enjoined, will continue
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                                                                                                        10   to irreparably harm the general public, which has an interest in being free from confusion, mistake, and

                                                                                                        11   deception.

                                                                                                        12           90.      Plaintiffs’ remedy at law is not adequate to compensate it for the injuries inflicted by

                                                                                                        13   Defendants. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to
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                                                                                                        14   15 U.S.C. § 1117.

                                                                                                        15           91.      Plaintiffs are entitled to recover Defendants’ profits, Plaintiffs’, actual damages, and the

                                                                                                        16   costs of this action. Plaintiffs’ are also entitled to have their damages trebled under 15 U.S.C. § 1117(a).

                                                                                                        17           92.      This is an exceptional case, making Facebook eligible for an award of reasonable

                                                                                                        18   attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                                                                                        19                                        FOURTH CAUSE OF ACTION

                                                                                                        20     [Dilution of the Facebook Trademarks and Instagram Trademarks Under 15 U.S.C. § 1125(c)]

                                                                                                        21           93.      Facebook and Instagram reallege and incorporate by reference all of the preceding

                                                                                                        22   paragraphs.

                                                                                                        23           94.      The Facebook Trademarks and Instagram Trademarks are famous, as that term is used in

                                                                                                        24   15 U.S.C. § 1125(c), and they were famous before Defendants’ use of them and variations of the

                                                                                                        25   trademarks in commerce. This fame is based on, among other things, the inherent distinctiveness and

                                                                                                        26   federal registration of each of the Facebook Trademarks and Instagram Trademarks as well as the

                                                                                                        27   extensive and exclusive worldwide use, advertising, promotion, and recognition of them.

                                                                                                        28           95.      Defendants’ use of the Facebook Trademarks and Instagram Trademarks, and variations

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                                                                                                         1   thereof, in commerce is likely to cause dilution by blurring or dilution by tarnishment of these

                                                                                                         2   trademarks.

                                                                                                         3          96.     Defendants’ acts constitute dilution by blurring and dilution by tarnishment in violation

                                                                                                         4   of 15 U.S.C. § 1125(c), entitling Facebook and Instagram to relief.

                                                                                                         5          97.     Defendants have unfairly profited from their conduct.

                                                                                                         6          98.     Defendants damaged the goodwill associated with the Facebook Trademarks and the

                                                                                                         7   Instagram Trademarks and they will continue to cause irreparable harm.

                                                                                                         8          99.     Facebook’s and Instagram’s remedy at law is not adequate to compensate them for the

                                                                                                         9   injuries inflicted by Defendants. Accordingly, Facebook and Instagram are entitled to permanent
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                                                                                                        10   injunctive relief pursuant to 15 U.S.C. § 1116.

                                                                                                        11          100.    Because Defendants’ acted willfully, Facebook and Instagram are entitled to damages,

                                                                                                        12   and those damages should be trebled pursuant to 15 U.S.C. § 1117.

                                                                                                        13          101.    This is an exceptional case, making Plaintiffs eligible for an award of attorneys’ fees
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                                                                                                        14   pursuant to 15 U.S.C. § 1117.

                                                                                                        15                                          REQUEST FOR RELIEF

                                                                                                        16          WHEREFORE, Plaintiffs request judgment against Defendants as follows:

                                                                                                        17          1.      That the Court enter a judgment against Defendants that Defendants have:

                                                                                                        18                  a.     Infringed the rights of Plaintiffs in the federally registered Facebook Trademarks,

                                                                                                        19   and Instagram Trademarks, in violation of 15 U.S.C. § 1125(d).

                                                                                                        20                  b.     Infringed the rights of Plaintiffs in the federally registered Facebook Trademarks

                                                                                                        21   and Instagram Trademarks, in violation of 15 U.S.C. § 1114(1);

                                                                                                        22                  c.     Infringed the rights of Plaintiffs in the federally registered Facebook Trademarks

                                                                                                        23   and Instagram Trademarks, in violation of 15 U.S.C. § 1125(a);

                                                                                                        24                  d.     Infringed the rights of Plaintiffs in the federally registered Facebook Trademarks

                                                                                                        25   and Instagram Trademarks, in violation of 15 U.S.C. § 1125(c).

                                                                                                        26          2.      That each of the above acts was willful.

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                                                                                                         1          3.      That the Court issue a permanent injunction enjoining and restraining Defendants and

                                                                                                         2   their agents, employees, successors, and assigns, and all other persons acting in concert with or in

                                                                                                         3   conspiracy with or affiliated with Defendants, from:

                                                                                                         4                  a.         Registering, using, or trafficking in any domain name that is identical or

                                                                                                         5   confusingly similar to the Facebook Trademarks or the Instagram Trademarks;

                                                                                                         6                  b.         Engaging in any use, including advertising, promoting, marketing, franchising,

                                                                                                         7   selling, and offering for sale any goods or services, on or in connection with the Facebook Trademarks

                                                                                                         8   or the Instagram Trademarks, or any similar mark or designation, that is likely to cause confusion, or to

                                                                                                         9   cause mistake as to the affiliation of that use with Plaintiffs; and
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                                                                                                        10                  c.         Engaging in any activity which lessens the distinctiveness or tarnishes the

                                                                                                        11   Facebook Trademarks or the Instagram Trademarks.

                                                                                                        12          4.      That Plaintiffs be awarded damages for Defendants’ trademark infringement and false

                                                                                                        13   designation of origin and that these damages be trebled due to Defendants’ willfulness, in accordance
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                                                                                                        14   with the provisions of 15 U.S.C. § 1117.

                                                                                                        15          5.      That Defendants be ordered to account for and disgorge to Plaintiffs all amounts by

                                                                                                        16   which Defendants have been unjustly enriched by reason of the unlawful acts complained of.

                                                                                                        17          6.      That Plaintiffs be awarded $100,000 in statutory damages per infringing domain name by

                                                                                                        18   reason of Defendants’ cybersquatting in accordance with the provisions of 15 U.S.C. § 1117.

                                                                                                        19          7.      That Plaintiffs be awarded an amount sufficient to reimburse Plaintiffs for the costs of

                                                                                                        20   corrective advertising.

                                                                                                        21          8.      That Plaintiffs be awarded prejudgment interest on all infringement damages.

                                                                                                        22          9.      That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to

                                                                                                        23   15 U.S.C. § 1117 and any other applicable provision of law.

                                                                                                        24          10.     That the Court award Plaintiffs their costs of suit incurred herein.

                                                                                                        25          11.     That the Court award such other or further relief as the Court may deem just and proper.

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                                                                                                             DATED: October 28, 2019                    Tucker Ellis LLP
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                                                                                                         4                                              By: /s/David J. Steele
                                                                                                                                                             David J. Steele
                                                                                                         5                                                   Howard A. Kroll
                                                                                                                                                             Steven E. Lauridsen
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                                                                                                         7                                                     Attorneys for Plaintiffs,
                                                                                                                                                               FACEBOOK, INC. and INSTAGRAM, LLC
                                                                                                         8
                                                                                                                                                                Platform Enforcement and Litigation
                                                                                                         9                                                      Facebook, Inc.
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                                                                                                                                                                  Jessica Romero
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                                                                                                         1                                     DEMAND FOR TRIAL BY JURY
                                                                                                         2

                                                                                                         3           Plaintiffs Facebook, Inc. and Instagram, LLC, hereby demand a trial by jury to decide all issues

                                                                                                         4   so triable in this case.

                                                                                                         5

                                                                                                         6   DATED: October 28, 2019                             Tucker Ellis LLP

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                                                                                                                                                                 By: /s/David J. Steele
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                                                                                                                                                                      Howard A. Kroll
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                                                                                                        12                                                              FACEBOOK, INC. and INSTAGRAM, LLC,
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